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                         Exhibit 8
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                                                                    Barbara Mart
                                                                   June 29, 2018
                                                                                                               1 (Pages 1 to 4)
                                                                  Page 1                                                             Page 3
                   UNITED STATES DISTRICT COURT                             1                 EXHIBITS MARKED
                  FOR THE DISTRICT OF RHODE ISLAND                          2   EXHIBIT          DESCRIPTION                    PAGE
            SHEET METAL WORKERS LOCAL NO. 20 )
                                                                            3   Exhibit 8      January 29, 2009, email
            WELFARE AND BENEFIT FUND and )                                                   CVSSM-0025740                66
            INDIANA CARPENTERS WELFARE FUND, )                              4
            on behalf of themselves and all )                                   Exhibit 9        July 2, 2008, email
            others similarly situated,     )                                5                string
                                  )
               Plaintiffs,           )                                                       CVSSM-0025661-25662                74
                                  )                                         6
            v.                     ) No. 1:16-cv-00046-S                        Exhibit 10      January 29, 2009, email
                                  )                                         7              CVSSM-0025739                77
            CVS PHARMACY, INC., et al.,           )                         8   Exhibit 11      January 29, 2009, email
                                  )
               Defendants.              )
                                                                                           string
            __________________________________)                             9              CVSSM-0025741-25742                  79
                                  )                                        10   Exhibit 12      November 30, 2009, email
            PLUMBERS WELFARE FUND, LOCAL 130, )                                            string
            U.A., on behalf of itself and all )                            11              CVSSM-0025668-25669                  83
            others similarly,            )
                                  )
                                                                           12   Exhibit 13      June 14, 2010, email
            v.                     ) No. 1:16-cv-00447-S                                   string                 90
                                  )                                        13              CVSSM-0025743-25747
            CVS PHARMACY, INC., et al.,           )                        14   Exhibit 14      June 21, 2010, email
                                  )                                                        string
               Defendants.              )
            __________________________________)
                                                                           15              CVSSM-0025718-25722                  95
                                                                           16   Exhibit 15      June 23, 2010, email
                                                                                           string
                 VIDEOTAPED DEPOSITION OF BARBARA MART                     17              CVSSM-0025748-25752                  97
                                                                           18   Exhibit 16      June 28, 2012, email
                         Phoenix, Arizona
                                                                                           string
                          June 29, 2018                                    19              CVSSM-0025687-25691                  99
                                                                           20
                                                                           21
                                                                           22
                               Prepared by:                                23
                               CINDY MAHONEY, RPR, RMR
                               Certified Court Reporter                    24
                               Certificate No. 50680                       25


                                                                  Page 2                                                             Page 4
        1                 INDEX                                             1         THE VIDEOTAPED DEPOSITION OF BARBARA MART
        2    WITNESS                           PAGE                         2   commenced at 9:27 a.m. on June 29, 2018, at the law
        3    BARBARA MART                                                   3   offices of Ogletree, Deakins, Nash, Smoak & Stewart,
        4    Examination by Mr. Belden              6                       4   P.C., 2415 East Camelback Road, Suite 800, Phoenix,
        5    Examination by Ms. Connolly            113                     5   Arizona, before Cindy Mahoney, RPR, RMR, Arizona
        6    Further Examination by Mr. Belden        133                   6   Certified Court Reporter No. 50680.
        7
                                                                            7
        8
                            EXHIBITS MARKED                                 8
        9                                                                       APPEARANCES:
             EXHIBIT            DESCRIPTION                PAGE             9
       10                                                                  10      For the Plaintiffs:
             Exhibit 1     Nebraska Medicaid General                                HAGENS BERMAN SOBOL SHAPIRO LLP
       11              Information, Fiscal Year                            11       By: Jennifer Fountain Connolly, Esq.
                       2007, Nebraska Department                                        1701 Pennsylvania Avenue, NW, Suite 200
       12              of Health and Human Services 18                     12           Washington, D.C. 20006
       13    Exhibit 2     Manual Letter #-34-2012,                                     202-248-5403
                       Rev. March 28, 2012,                                13           jenniferc@hbsslaw.com
       14              Chapter 16-000 Pharmacy
                                                                           14
                       Services               31
       15                                                                          For the Defendants CVS Pharmacy, Inc., and
             Exhibit 3        October 20, 2006, email                      15      Caremark, LLC:
       16                 string                                                    WILLIAMS & CONNOLLY LLP
                          CVSSM-0025726-25729              40              16       By: Bob Belden, Esq.
       17                                                                               Grant A. Geyerman, Esq.
             Exhibit 4     CVS/pharmacy Health Savings                     17           725 Twelfth St., N.W.
       18              Pass Enrollment Form         48                                  Washington, DC 20005
       19    Exhibit 5     December 2, 2008, email                         18           202-434-5000
                       string                                                           rbelden@wc.com
       20              CVSSM-0025730-25732             54                  19           ggeyerman@wc.com
       21    Exhibit 6     December 20, 2008, email
                                                                           20
                       string
       22              CVSSM-0025755-25756             60                  21
       23    Exhibit 7     December 3, 2008, email                         22   ALSO PRESENT:
                       string                                              23     Tom Tracy, Videographer
       24              CVSSM-0025737-25738             62                  24
       25                                                                  25


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        1             THE VIDEOGRAPHER: We are now on the               1          When I'm asking a question, I'd like you to try
        2   record. The time is approximately 9:27 a.m. This is a       2    and wait until I get finished to answer. We want to
        3   videotaped deposition of Barbara Mart in the matter of      3    keep the record clean for the court reporter, and we
        4   Steel [sic] Metal Workers, et al., versus CVS Pharmacy.     4    want to give plaintiffs' counsel an opportunity to
        5   It's being held in the District Court of Rhode Island.      5    object. Do you understand that?
        6          This deposition is being held at 2415 East           6       A Yes.
        7   Camelback Road, Suite 800, Phoenix, Arizona 85016 on        7       Q Okay. And I think it's natural in conversation
        8   June 29, 2018. My name is Tom Tracy. I'm the                8    to kind of verbally signal your answer or nod, but to
        9   videographer representing Stratos Legal. The court          9    the best that you can today, try to answer verbally.
       10   reporter's Cindy Mahoney, also on behalf of Stratos        10    Okay?
       11   Legal.                                                     11       A Okay.
       12          Counsel, will you please identify yourself and      12       Q If I ask you a question and you don't
       13   whom you represent for the record at this time, starting   13    understand what I've said, please let me know and I'll
       14   with the plaintiffs' counsel.                              14    try to reformulate the question. Okay?
       15             MS. CONNOLLY: Jennifer Connolly from             15       A Okay.
       16   Hagens Berman Sobol Shapiro on behalf of the plaintiffs.   16       Q I'm entitled to answers to my questions.
       17             MR. BELDEN: Bob Belden and Grant Geyerman        17    Plaintiffs' counsel might object to my question, but you
       18   of Williams & Connolly on behalf of CVS Pharmacy, Inc.,    18    should still go ahead and answer it. Okay?
       19   and Caremark, LLC, defendants.                             19       A Okay.
       20   ///                                                        20       Q And you're running the show today. We can take
       21   ///                                                        21    a break anytime you'd like, but I just ask that if
       22   ///                                                        22    there's a question outstanding, that you answer the
       23   ///                                                        23    question before we go on a break. Okay?
       24   ///                                                        24       A All right.
       25   ///                                                        25       Q All right. Could you summarize your


                                                              Page 6                                                         Page 8
        1                BARBARA MART,                                  1   educational background after your high school
        2       the witness herein, being first duly sworn,             2   graduation?
        3        was examined and testified as follows:                 3      A I attended the University of Nebraska,
        4                                                               4   graduated from the University of Nebraska Medical Center
        5                  EXAMINATION                                  5   with a bachelor's in pharmacy.
        6   BY MR. BELDEN:                                              6      Q And what year was that?
        7      Q Good morning, Ms. Mart.                                7      A That was in 1973.
        8      A Good morning.                                          8      Q Okay. And do you have any other certifications
        9      Q How are you?                                           9   or degrees?
       10      A I'm fine.                                             10      A No. I'm a registered pharmacist.
       11      Q Could you state and spell your full name for          11      Q Okay. What state are you a registered
       12   the record, please.                                        12   pharmacist in?
       13      A Barbara, B-a-r-b-a-r-a, Mart, M-a-r-t.                13      A I'm registered in Nebraska and Missouri.
       14      Q And what is your address?                             14      Q And starting with Nebraska, when were you --
       15      A 3609 West Lane Avenue in Phoenix, 8 -- ZIP is         15   when were you first registered there?
       16   85051.                                                     16      A In 1974.
       17      Q Okay. And are you currently employed?                 17      Q And what about Missouri?
       18      A I'm retired.                                          18      A Either 2015 or 2016. I'm not positive. I
       19      Q Okay. I represent CVS Pharmacy and Caremark.          19   think it was 2015.
       20   And I'm going to be asking you some questions today, and   20      Q Okay. Are you currently licensed in Nebraska?
       21   you're going to be answering them. Do you understand       21      A Yes.
       22   that?                                                      22      Q And what about Missouri?
       23      A Yes.                                                  23      A Yes.
       24      Q Okay. So just some basics before we get               24      Q So starting from your graduation from the
       25   started.                                                   25   University of Nebraska, could you walk me through your



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        1      A Yes.                                                 1   helps their clients look at opportunities to become more
        2      Q Will you understand if I refer to those as           2   efficient?
        3   PBMs?                                                     3      A Yes.
        4      A Yes.                                                 4      Q Does that mean that they help their clients
        5      Q Is Mercer a PBM?                                     5   look for opportunities to save money?
        6      A No.                                                  6      A Yes.
        7      Q Does Mercer operate pharmacies?                      7            MS. CONNOLLY: Objection; form and
        8      A No.                                                  8   foundation.
        9      Q What types of entities do -- what types of           9   BY MR. BELDEN:
       10   entities does Mercer serve?                              10      Q Remember to try and give Ms. Connolly an
       11             MS. CONNOLLY: Objection to form,               11   opportunity to object.
       12   foundation.                                              12      A I'm sorry.
       13             THE WITNESS: Mercer in -- in general           13      Q That's okay.
       14   works with a lot of employer groups. They have a         14            MR. GEYERMAN: You might want to keep your
       15   commercial division that they work with a lot of         15   voice up a little bit, ma'am.
       16   employer groups in assisting the employer groups in      16            THE WITNESS: Okay.
       17   managing the benefit, evaluating contracts with PBMs.    17   BY MR. BELDEN:
       18   There's a whole host of things they do.                  18      Q So does -- does Mercer work with pharmacies?
       19         The division I was working in specializes in       19            MS. CONNOLLY: Objection to form and
       20   working with government programs. The vast majority of   20   foundation. I'm also just going to put this objection
       21   those programs are state Medicaid programs. And we --    21   on the record that I have correspondence from Mercer's
       22   they do a number of things. As I said, they help the     22   counsel that you guys are aware of in which he
       23   states set rates for the managed care programs. They     23   specifically has an agreement with defendants that she
       24   also do a lot of consulting regarding analysis of        24   will not be testifying regarding her employment at
       25   programs and helping states identify areas where they    25   Mercer or the role of Mercer. And he has instructed


                                                     Page 22                                                         Page 24
        1   could be more efficient.                                  1   Ms. Mart if the testimony goes in that direction that
        2   BY MR. BELDEN:                                            2   she needs to get on the phone with counsel from Mercer.
        3      Q So in that answer you said that it evaluates         3         So I'm going to allow you a little bit of
        4   contracts with PBMs?                                      4   foundation just to establish her areas of experience,
        5            MS. CONNOLLY: Objection to form --               5   but I think you're walking a fine line. And I
        6            THE WITNESS: Yes.                                6   personally will interrupt this -- this deposition and
        7            MS. CONNOLLY: -- foundation.                     7   get Mr. McKenzie on the phone if this goes any further.
        8   BY MR. BELDEN:                                            8             MR. GEYERMAN: And I did have
        9      Q Does -- does Mercer work with PBMs in any other      9   conversations with Mr. McKenzie, and I have his email as
       10   capacity?                                                10   well. And we fully intend -- I think he's just asking
       11            MS. CONNOLLY: Objection to form and             11   background as part of who these different entities are
       12   foundation.                                              12   that she worked for, so we don't intend to do anything
       13            THE WITNESS: I don't -- I don't                 13   more than that.
       14   understand that question. What do you mean?              14             MS. CONNOLLY: Okay. Like I said, I think
       15   BY MR. BELDEN:                                           15   he's starting to walk a line, so I just wanted to let
       16      Q Do -- so maybe a better question is: Does --        16   you know that if it gets any further, that we'll have an
       17   does Mercer interact with PBMs outside of evaluating     17   issue.
       18   contracts on behalf of their -- on behalf of Mercer's    18             MR. BELDEN: Understood.
       19   clients?                                                 19   BY MR. BELDEN:
       20            MS. CONNOLLY: Objection to form and             20      Q What was your title with Mercer?
       21   foundation.                                              21      A Senior associate.
       22            THE WITNESS: Yes, they do. They have an         22      Q And was that your title from the time that you
       23   audit division that -- that audits PBMs.                 23   joined in 2012 until you left?
       24   BY MR. BELDEN:                                           24      A Yes.
       25      Q So just stepping back, you said that Mercer         25      Q And what were your responsibilities at a


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        1   general level as a senior associate for Mercer?             1   the pharmacy context?
        2      A Assisting in these analyses that Mercer does.          2     A Yes.
        3      Q And why did you leave Mercer?                          3     Q And what does that term mean to you?
        4      A I retired.                                             4     A That is the processing of pharmacy claims.
        5      Q Okay. You and I met for the first time                 5     Q Who -- who processes the claims in adjudication
        6   yesterday; correct?                                         6   generally?
        7      A That's right.                                          7     A Usually it's a pharmacy benefit management
        8      Q And I showed you some documents about generic          8   company.
        9   drug programs that refreshed your recollect -- your         9     Q And what kind of determinations get made during
       10   recollection about your time with Nebraska Medicaid;       10   adjudication?
       11   right?                                                     11            MS. CONNOLLY: Objection to form,
       12      A Yes.                                                  12   foundation.
       13      Q And do you understand that it is your appearing       13            THE WITNESS: The -- the eligibility of
       14   on those documents that has caused us to subpoena you      14   the patient is reviewed, a determination is made as to
       15   for this deposition today?                                 15   whether or not the drug is covered, and the pricing is
       16      A Yes.                                                  16   calculated. After all that's done, a response is sent
       17      Q And you understand that your responsibility           17   back to the pharmacy telling the pharmacy whether or not
       18   today is just to testify truthfully to the best of your    18   the claim is going to be paid and how much the pharmacy
       19   ability; right?                                            19   will be paid from the PBM and how much the pharmacy
       20      A Right.                                                20   should collect from the patient as copay or coinsurance.
       21      Q Are you being compensated for your time               21   BY MR. BELDEN:
       22   yesterday and today?                                       22     Q Okay. What kinds of transactions involve
       23      A Yes, I am.                                            23   adjudication?
       24      Q And what's the rate?                                  24     A I don't know what you mean.
       25      A $100 an hour.                                         25     Q So does adjudication occur in a -- when a cash


                                                       Page 26                                                             Page 28
        1      Q And where does that rate come from?                    1   customer purchases a prescription generally?
        2      A It's a -- rather low in the consulting field,          2     A Usually --
        3   but it's basically based on typical consulting rates.       3        MS. CONNOLLY: Object to the form.
        4      Q Are you familiar with the term usual and               4            THE WITNESS: -- not.
        5   customary price?                                            5   BY MR. BELDEN:
        6      A Yes.                                                   6     Q Does it occur when a third party is paying for
        7      Q What does that term mean to you?                       7   the prescription?
        8      A It's usually part of a -- an agreement between         8     A Yes.
        9   a pharmacy and a payer, and it will be defined in the       9     Q And does adjudication involve a -- a pharmacy's
       10   contract in general. It's usually the cash price, the      10   U&C price?
       11   lowest cash price that a pharmacy offers.                  11            MS. CONNOLLY: Objection to form.
       12      Q Okay. From your years of working in or around         12            THE WITNESS: It usually does.
       13   the pharmacy industry, do you understand that some         13   BY MR. BELDEN:
       14   consumers purchase drugs at a pharmacy without using any   14     Q And how -- how is it used in adjudication or
       15   form of pharmacy benefit?                                  15   how is it involved in adjudication?
       16      A Yes.                                                  16     A It depends on the -- on the claim type and
       17      Q And what do you call those customers?                 17   the -- usually insurance contracts and employer group
       18      A Cash customers.                                       18   contracts define the payment methodology as lower -- the
       19      Q And you mentioned cash price before. Do you           19   lowest of a group of calculated prices. In -- in the
       20   remember that?                                             20   case -- there are some benefit cards where the PBM
       21      A Yes.                                                  21   actually doesn't pay anything on the claim. It just
       22      Q Is the cash price the price that the pharmacy         22   entitles the patient to the benefit of the PBM's price
       23   would offer to those cash customers?                       23   negotiation. So in those cases, U&C isn't necessarily
       24      A Yes.                                                  24   used.
       25      Q Are you familiar with the term adjudication in        25     Q So to -- I just want to make sure that I have


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        1   it clear.                                                   1   calculation that includes the -- that contracted -- or
        2          Sometimes a pharmacy's U&C price can be used to      2   that calculated price as well as the -- a comparison to
        3   determine the reimbursement the pharmacy will receive on    3   the pharmacy-submitted usual and customary and also
        4   a prescription; is that correct?                            4   another field on the claim called submitted cost, which
        5      A Yes.                                                   5   is populated by the pharmacy, and it prices at the lower
        6      Q I know we discussed this a little bit at the           6   of those.
        7   beginning, but what is Medicaid?                            7      Q Okay. Are you familiar with the term lower of
        8      A Medicaid --                                            8   reimbursement?
        9             MS. CONNOLLY: Objection to form.                  9      A Yes.
       10             THE WITNESS: Medicaid is a joint                 10      Q During your tenure with Nebraska Medicaid, did
       11   agreement between the federal government and the           11   Nebraska Medicaid utilize a lower of reimbursement
       12   individual states to provide medical coverage for people   12   formula?
       13   who can't afford medical coverage as well as children      13      A Yes.
       14   and disabled.                                              14            (The document was marked as Exhibit 2 for
       15   BY MR. BELDEN:                                             15   identification.)
       16      Q Who -- who designs the Medicaid benefit?              16   BY MR. BELDEN:
       17      A There are overarching federal regulations that        17      Q I'm going to hand you what's being marked as
       18   define the Medicaid benefit, but each state is             18   Exhibit Number 2. What is this document?
       19   responsible for administering the program within that      19      A This is a portion of the Medicaid regulations.
       20   state.                                                     20   Looks like it's the pharmacy services portion.
       21      Q And is -- is prescription drug coverage               21      Q When you say "Medicaid regulations," are you
       22   provided by most states' Medicaid programs?                22   referring to --
       23      A Yes, it is.                                           23      A Yes.
       24      Q Was prescription drug coverage provided by            24      Q -- Title 471 of the Nebraska Administrative
       25   Nebraska's Medicaid program?                               25   Code?


                                                           Page 30                                                     Page 32
        1      A Yes.                                                   1      A Yes.
        2      Q And who pays -- or sorry.                              2      Q So on the next to last page of this document --
        3         Who reimburses pharmacies for prescriptions           3   I'm sorry it doesn't have page numbers -- do you see a
        4   that the pharmacy fills through the Medicaid program?       4   section that's entitled, 16-005.04, Payment methodology?
        5      A The state pays the pharmacy.                           5      A Yes.
        6      Q And sorry, just to back up.                            6      Q Does this appear to be Nebraska's lower-of
        7         Are pharmacies required to enroll with the            7   methodology?
        8   state Medicaid program?                                     8             MS. CONNOLLY: Objection to form.
        9     A Yes, they are.                                          9             THE WITNESS: Yes.
       10        MS. CONNOLLY: Objection; form,                        10   BY MR. BELDEN:
       11   foundation. When you're speaking of Medicaid, are you      11      Q What is the usual and customary charge to the
       12   talking about Nebraska Medicaid or -- it would be          12   public in subsection A?
       13   helpful if you could be specific.                          13      A I think that's -- is that -- it should be
       14   BY MR. BELDEN:                                             14   defined later on -- or somewhere in -- it's actually
       15      Q Okay. Does Nebraska Medicaid require                  15   defined, isn't it?
       16   pharmacies to enroll with Nebraska Medicaid before the     16      Q So if you --
       17   pharmacy can?                                              17      A Is it in this section?
       18     A Yes. They -- they have to have a provider              18      Q If you turn back one page. And do you see near
       19   agreement on file.                                         19   the bottom of that page section 16-005.03, Pricing
       20     Q Okay. And during your tenure with Nebraska             20   instructions?
       21   Medicaid, how did Nebraska Medicaid reimburse pharmacies   21      A Yes.
       22   for dispensing prescriptions to Medicaid beneficiaries?    22      Q And that section reads, Pharmacists will not,
       23     A Reimbursement originally was based on average          23   under any circumstances, submit charges to the
       24   wholesale price minus a set percent plus a dispensing      24   department which exceed the pharmacy's usual and
       25   fee or it -- it was a -- the reimbursement formula is a    25   customary charge.


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        1    need the pricing information.                                     1      Q And are you aware in a private payer context of
        2    BY MS. CONNOLLY:                                                  2   the entities that perform that function?
        3       Q So when you're saying -- when you testified                  3      A Yes.
        4    that a payer can run reports to validate claims                   4      Q And what are those entities?
        5    submitted by a pharmacy, that would include if a -- if a          5      A They are the PBMs or their -- the PBMs, most of
        6    payer were going to analyze U&C prices, for example,              6   them have audit divisions that do.
        7    they would have to receive those U&C prices from the              7      Q If you could pull out Exhibit 4 very briefly.
        8    pharmacy in order to be able to run those reports;                8   That's the HSP brochure.
        9    right?                                                            9      A Okay.
       10       A Yes.                                                        10      Q I just wanted to know if you recall whether you
       11              MR. BELDEN: Objection -- objection to                  11   received this brochure at the time that you were
       12    form, misstates the witness's testimony.                         12   employed at Nebraska Medicaid?
       13    BY MS. CONNOLLY:                                                 13      A I don't recall seeing this.
       14       Q I wanted to just do a few foundational                      14      Q Aside from the AMPAA emails that we've been
       15    questions for you.                                               15   discussing today, have you personally ever had any
       16          So you testified previously that Nebraska                  16   discussions with private health plans regarding subject
       17    Medicaid adjudicated the claims submitted by pharmacies;         17   matters covered in those emails?
       18    is that right?                                                   18             MR. BELDEN: Object to form.
       19              MR. BELDEN: Objection to form,                         19             THE WITNESS: No.
       20    mischaracterizes the testimony.                                  20   BY MS. CONNOLLY:
       21              THE WITNESS: Nebraska Medicaid didn't                  21      Q Do you agree with the proposition that a
       22    specifically adjudicate the claims. That was done by a           22   pharmacy's relationship with state Medicaid programs is
       23    claims processor.                                                23   fundamentally different from its relationship with its
       24    BY MS. CONNOLLY:                                                 24   commercial trading partners?
       25       Q A claims processor that was used by Nebraska                25             MR. BELDEN: Object to form.


                                                               Page 130                                                              Page 132
        1   Medicaid; is that correct?                                         1             THE WITNESS: Yes.
        2     A That's correct.                                                2   BY MS. CONNOLLY:
        3     Q Are you aware of the type of entities that                     3       Q Why?
        4   adjudicate claims from pharmacies in a private payer               4       A The -- the contract is far different. In
        5   context?                                                           5   Medicaid, they basically sign an agreement that says, I
        6              MR. BELDEN: Objection to form.                          6   agree this is the reimbursement. And I don't know that
        7              THE WITNESS: Yes.                                       7   they even say this is the reimbursement. It says, I
        8   BY MS. CONNOLLY:                                                   8   agree to accept the payment from Medicaid as payment in
        9     Q And what are those entities?                                   9   full and agree to adhere to all of the rules and
       10     A The -- you mean the PBMs? Is that what you're                 10   regulations, whereas in -- on the commercial side,
       11   referring to? The pharmacy benefit management companies           11   there's very lengthy contracts that spell out all kinds
       12   are.                                                              12   of things regarding the practice of business.
       13     Q Yes. Yes.                                                     13       Q And part of the practice of business that is
       14          You also testified that certain Medicaid                   14   agreed to is the definition of usual and customary
       15   agencies are able to and did, in fact, perform audits of          15   price?
       16   claims submitted by pharmacies; is that right?                    16             MR. BELDEN: Objection to form.
       17              MR. BELDEN: Objection; misstates the                   17             THE WITNESS: I haven't seen one of those
       18   witness's testimony.                                              18   contracts for a long time, but as I recall, there is a
       19              THE WITNESS: Would you repeat the                      19   definition in there -- in the contract of usual and
       20   question?                                                         20   customary price. I -- just as there is in -- in the
       21   BY MS. CONNOLLY:                                                  21   Medicaid regulations, some sort of a definition of usual
       22     Q You previously testified that Medicaid agencies               22   and customary price.
       23   sometimes perform audits of claims data submitted by              23   BY MS. CONNOLLY:
       24   pharmacies; is that correct?                                      24       Q So in essence, the -- the contracts in the
       25     A Yes, that's correct.                                          25   private context with regard to defining U&C serve the


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                                                                                              34 (Pages 133 to 135)
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        1   function that Medicaid regulations do?                     1   STATE OF ARIZONA )
        2            MR. BELDEN: Objection to form.                        COUNTY OF MARICOPA )
        3            THE WITNESS: Yes.                                 2
        4   BY MS. CONNOLLY:                                           3      BE IT KNOWN that the foregoing deposition was taken
        5      Q That, of course, does not mean that U&C is
                                                                       4   by me pursuant to stipulation of counsel; that I was
                                                                       5   then and there a Certified Court Reporter in the State
        6   defined in private contracts the same way it is in
                                                                       6   of Arizona, and by virtue hereof authorized to
        7   Medicaid regulations; is that right?
                                                                       7   administer an oath; that the witness before testifying
        8            MR. BELDEN: Objection to form.                    8   was duly sworn by me to testify to the whole truth;
        9            THE WITNESS: Yes, I would agree.                  9   deposition review and signature was not requested; that
       10            MS. CONNOLLY: I have no further questions        10   the questions propounded by counsel and the answers of
       11   subject to redirect from counsel, so thank you for your   11   the witness thereto were taken down by me in shorthand
       12   time.                                                     12   and thereafter transcribed into typewriting under my
       13            THE WITNESS: Thank you.                          13   direction; that the foregoing pages are a full, true and
       14                                                             14   accurate transcript of all the proceedings had upon the
       15                FURTHER EXAMINATION                          15   taking of said deposition, all done to the best of my
       16   BY MR. BELDEN:                                            16   skill and ability.
       17      Q Just a few questions here.
                                                                      17          I FURTHER CERTIFY that I am in no way related
                                                                      18   to nor employed by any parties hereto; nor am I in any
       18         Has the content of your testimony been
                                                                      19   way interested in the outcome thereof.
       19   influenced in any way by the fact that you were
                                                                      20          Dated at Phoenix, Arizona, this 10th day of
       20   compensated for your time yesterday and today?            21   July, 2018.
       21      A Absolutely not.                                      22
       22      Q And going back to Exhibit 2, which is the --         23              _________________________________
       23      A There it is.                                                         CINDY MAHONEY, RPR, RMR NO. 50680
       24      Q -- the next to last page -- sorry, third from        24
       25   the last, section 16-005.03. Do you see that?             25


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        1      A Yes.
        2      Q Was this section substant -- substance --
        3   sorry. Strike that.
        4         Was this section substantively the same as the
        5   U&C section that was in effect during your tenure with
        6   Nebraska Medicaid?
        7      A I believe so, yes.
        8      Q And just one final question.
        9         Do consulting companies like Mercer perform
       10   audits of -- of -- pharmacies?
       11      A I prefer not to answer that in the context of
       12   Mercer specifically, but I believe that some consulting
       13   companies do have audit divisions.
       14      Q So a payer who wished to audit a pharmacy could
       15   hire a consultant to do so; is that fair?
       16            MS. CONNOLLY: Objection to form.
       17            THE WITNESS: Yes.
       18            MR. BELDEN: No further questions.
       19            MS. CONNOLLY: None for me. Thank you.
       20            THE VIDEOGRAPHER: This concludes the
       21   videotaped deposition. Time is approximately 12:55 p.m.
       22          (The deposition concluded at 12:55 p.m.)
       23
       24                (Signature Not Requested)
                      ___________________________________
       25                  BARBARA MART


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